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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

UNITED STATES OF AMERICA,
          Plaintiff,

vs                                                 CASE NO: 3:05cr99-006

SCOTT MONTGOMERY,
           Defendant.
__________________________________________________/

                        ORDER REDUCING SENTENCE


      Defendant's sentence of confinement is hereby reduced from 120 months to 60
months.   In all other respects, the original sentence imposed in the Judgment and
Commitment Order filed 27 December 2005 shall remain unchanged.
      ORDERED this19th day of June 2009.



                                                     s/L.A. Collier
                                                  LACEY A. COLLIER
                                              Senior United States District Judge
